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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
10                    WESTERN DISTRICT COURT OF WASHINGTON
11

12   Re                             )
                                    )             In Chapter 7 Proceeding
13   BROOKE GRENKE                   )            No. 18-43293-MJH
                                    )
14                                  )             Order Converting Case
                   Debtor(s)        )             from Chapter 7 to Chapter 13
15                                  )
                                    )
16   ______________________________ )
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18
     It is hereby ORDERED that this case is converted from a case under Chapter 7 to a
     case under Chapter 13.
19

20   Presented by:

21
     /s/ Ellen Ann Brown
22   Ellen Ann Brown WSB 27992
     Attorney for Debtor
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25
                                                              BROWN and SEELYE PLLC
                                                                744 South Fawcett Ave.
                                                                  Tacoma, WA 98402
                                                                     253-573-1958
